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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-02362-JLS-DFM                                     Date: June 02, 2020
 Title: In the Matter of the Search Warrant Executed

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Terry Guerrero                                                 N/A
       Deputy Clerk                                              Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:
      Not Present                                           Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE WHY THE
              COURT’S PRIOR ORDER (Doc. 35) SHOULD REMAIN
              UNDER SEAL

           In an abundance of caution, the Court issued under seal its Order resolving
 Movant Brendan Flaherty’s Motion for the Return of Seized Property. (Doc. 35.)
 However, the Court does not believe there is any information contained in the Order that
 has not already been publicly filed in either this litigation or in In Re Westwind Manor
 Resort Association, Inc., No. 19-50025 (DRJ) (S.D. Tex.). Therefore, the Court sees no
 reason for the Order to remain under seal.
         Accordingly, the parties are ORDERED to review the document and file, within
 five (5) days, any objection to its unsealing, specifically identifying any information that
 is not otherwise publicly available. The Court will thereafter determine whether a
 sufficient showing has been made to maintain the document under seal. Failure to timely
 object will be deemed consent to the immediate unsealing of the Order.

                                                                      Initials of Preparer: tg




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